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				IN RE: APPROVAL OF PROPOSED STANDARDS OF PRACTICE2016 OK 32Decided: 03/21/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 32, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



IN RE: APPROVAL OF PROPOSED STANDARDS OF PRACTICE FOR ATTORNEYS REPRESENTING PARENTS IN JUVENILE COURT




ORDER


The Court has reviewed the proposed Oklahoma standards of practice for attorneys representing parents in juvenile court, submitted by the Juvenile Justice Oversight Committee. The attached proposed standards are hereby adopted, effective immediately.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 21st day of March, 2016.


/s/CHIEF JUSTICE



ALL JUSTICES CONCUR




Standards of Practice for Attorneys Representing Parents in Juvenile Court

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